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8      ADAU AKUI ATEM MORNYANG
9
10                                UNITED STATES DISTRICT COURT
11                            CENTRAL DISTRICT OF CALIFORNIA
12                                      WESTERN DIVISION
13     UNITED STATES OF AMERICA,                      Case No. 2:19-cr-00050-CJC-1
14                   Plaintiff,                       DEFENDANT’S STATEMENT OF
                                                      THE CASE
15             v.
16     ADAU AKUI ATEM MORNYANG
17                   Defendant.
18
19             Defendant Adau Akui Atem Mornyang, by and through her attorneys of record
20     Georgina Wakefield and Erin Murphy, hereby submit defendant’s statement of the
21     case.
22                                            Respectfully submitted,
23                                            HILARY POTASHNER
                                              Federal Public Defender
24
25     DATED: March 8, 2019                By s/ Georgina Wakefield
26                                           GEORGINA WAKEFIELD
                                             ERIN MURPHY
27                                           Deputy Federal Public DefenderS

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               This is a criminal case brought by the United States government. The
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1      government has charged defendant Adau Mornyang with the following: one count of
2      interference with a flight attendant in violation of 49 U.S.C. § 46504, and two counts of
3      assault by striking and beating in violation of 18 U.S.C. § 113(a)(4) and 49 U.S.C. §
4      46506.
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6            Ms. Mornyang has pleaded not guilty to the charges and denies the government’s
7      allegations.
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